                Case:
ILND 450 (Rev. 10/13)    1:21-cv-01634
                      Judgment in a Civil Action   Document #: 30 Filed: 10/20/21 Page 1 of 2 PageID #:301

                                         IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE
                                            NORTHERN DISTRICT OF ILLINOIS

Clay

Plaintiff(s),
                                                                    Case No. 21-cv-1634
v.                                                                  Judge Robert M. Dow

VHS West Suburban Medical Center, Inc.

Defendant(s).

                                                     JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                              which          includes       pre–judgment interest.
                                             does not include pre–judgment interest.

          Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

          Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
          Defendant(s) shall recover costs from plaintiff(s).


                X       other: Plaintiff’s claims for contribution against the United States are premature, those
claims (Counts I through IV of the third-party complaint) are dismissed without prejudice. And in the absence of a
valid third-party claim against the United States at this time, the Court lacks subject matter jurisdiction over the
entire action. Accordingly, the Clerk is directed to remand this case to the Circuit Court of Cook County forthwith.

This action was (check one):

  tried by a jury with Judge         presiding, and the jury has rendered a verdict.
  tried by Judge         without a jury and the above decision was reached.
X decided by Judge          on a motion



Date: 10/20/2021                                                 Thomas G. Bruton, Clerk of Court
                Case:
ILND 450 (Rev. 10/13)    1:21-cv-01634
                      Judgment in a Civil Action   Document #: 30 Filed: 10/20/21 Page 2 of 2 PageID #:302

                                                                 Carolyn Hoesly, Deputy Clerk
